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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                             :
                                                     :       Case No. 21-cr-495 (ABJ)
               v.                                    :
                                                     :
DANIEL GRAY,                                         :
                                                     :
                       Defendant.                    :

______________________________________________________________________________

           GOVERNMENT’S REQUEST FOR A STATUS CONFERENCE
______________________________________________________________________________

       The United States of America, by and through its attorney, the United States Attorney for

the District of Columbia, requests a status conference in the above-entitled action.

       On December 1, 2021, the grand jury returned a nine-count superseding indictment

charging Gray with Civil Disorder, in violation of 18 U.S.C. § 231(a)(3) (Count One); Obstruction

of an Official Proceeding, and Aiding and Abetting, in violation of 18 U.S.C. §§ 1512(c)(2) and

(2) (Count Two); Assaulting, Resisting, or Impeding Certain Officers, in violation of 18 U.S.C.

§ 111(a)(1) (Count Three); Entering and Remaining in a Restricted Building or Grounds, in

violation of 18 U.S.C. § 1752(a)(1) (Count Four); Disorderly and Disruptive Conduct in a

Restricted Building or Grounds, in violation of 18 U.S.C. § 1752(a)(2) (Count Five); Engaging in

Physical Violence in a Restricted Building or Grounds, in violation of 18 U.S.C. § 1752(a)(4)

(Count Six); Disorderly Conduct in a Capitol Building, in violation of 40 U.S.C. § 5104(e)(2)(D)

(Count Seven); Act of Physical Violence in the Capitol Grounds or Buildings, in violation of 40

U.S.C. § 5104(e)(2)(F) (Count Eight); and Parading, Demonstrating, or Picketing in a Capitol

Building, in violation of 40 U.S.C. § 5104(e)(2)(G) (Count Nine). (ECF 25.)
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       Defendant Gray was arraigned on December 6, 2021. A trial had been scheduled to

commence on January 18, 2023. Shortly after present defense counsel filed a notice of appearance

the trial date was vacated.

       On October 21, 2022, Defendant Gray filed the following motions: Notice of Alternative

Perpetrator Defenses, Motion to Dismiss Counts for Multiplicity, Motion for Disclosure of

Potentially Exculpatory Information, Motion to Dismiss Count 2 of the Superseding Indictment,

and Motion to Dismiss Count 9 of the Superseding Indictment. (ECFs 51, 52, 53, 54, and 56.)

The government responded to these motions between October 31, 2022 and November 14, 2022.

(ECFs 58, 59, 62, 63, and 67.) T he Court took these motions under advisement.

       Presently, there are no future proceedings scheduled. The government requests the

Court schedule a status conference to determine the posture of the case.


                                            Respectfully submitted,

                                            MATTHEW M. GRAVES
                                            United States Attorney
                                            D.C. Bar No. 481052

                                     By:    /s/ JACQUELINE SCHESNOL
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                                CERTIFICATE OF SERVICE

On this 3rd day of January 2023, a copy of the foregoing was served upon all parties listed on the
Electronic Case Filing (ECF) System.

                                             /s/ Jacqueline Schesnol
                                             JACQUELINE SCHESNOL
                                             Assistant United States Attorney




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